              Case 1:23-cv-00703-JMC Document 3 Filed 03/30/23 Page 1 of 1



                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

 JOHN C. DIXON,

    Plaintiff,

    v.                                                      Civil Action No.: JMC-23-0703

 LGX SERVICES, LLC

    Defendant.



                                               ORDER


         Upon application of Plaintiff, it is this 16 day of March, 2023, by the United States District

Court for the District of Maryland, hereby ORDERED:

         1.      Plaintiff's Motion for Leave to Proceed In Forma Pauperis (ECF 2) IS GRANTED

                 pursuant to 28 U.S.C. § 1915(a)(1); and

         2.      The Clerk SHALL PROVIDE a copy of this Order to counsel, who shall take all

                 necessary steps to effectuate service of the summons and Complaint on Defendant

                 pursuant to Rule 4 of the Federal Rules of Civil Procedure.



                                                        ____________________________
                                                        J. Mark Coulson
                                                        United States Magistrate Judge
